[NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
United States Court of Appeals
For the First Circuit

No. 98-1996

UNITED STATES,

Appellee,

v.

RAFAEL E. FIGUEROA,

Defendant, Appellant.

APPEAL FROM THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF RHODE ISLAND

[Hon. Ernest C. Torres, U.S. District Judge]

Before

Torruella, Chief Judge,
Selya and Boudin, Circuit Judges.

Randy Olen on brief for appellant.
Margaret E. Curran, United States Attorney, Donald C. Lockhart and Zechariah Chafee, Assistant United States Attorneys, on brief for appellee.

July 30, 1999

Per Curiam. Upon careful review of the briefs and record, we conclude that the district court did not clearly err in denying defendant's request for a decrease for acceptance of responsibility under U.S.S.G.  3E1.1(a).  The denial was amply supported by defendant's use of a false identity until the deceit was uncovered during the pre-sentence investigation, and the district court was not required to rely on defendant's subsequent statement of contrition.  See, e.g., United States v. Hardy, 99 F.3d 1242, 1247 (1st Cir. 1996); United States v. Tracy, 989 F.2d 1279, 1287-88 (1st Cir. 1993). 
Nothing about defendant's situation was extraordinary.  See  3E1.1, comment. (n.4).  Rather, as is ordinarily the case, defendant's falsehoods not only qualified for an enhancement for obstruction of justice under  3C1.1, but also indicated that he had not accepted responsibility under  3E1.1.
There is no merit in defendant's appellate argument regarding "acceptance of the consequences."
Affirmed.  See 1st Cir. Local R. 27.1. 
